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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF NEW YORK

      ------------------------------X           Docket#
      UNITED STATES OF AMERICA,     :           17-cr-00449-NGG-1
                                    :
           - versus -               :           U.S. Courthouse
                                    :           Brooklyn, New York
      MIRSAD KANDIC,                :
                      Defendant     :           November 1, 2017
      ------------------------------X

               TRANSCRIPT OF CRIMINAL CAUSE FOR ARRAIGNMENT
                 BEFORE THE HONORABLE RAMON E. REYES, JR.
                      UNITED STATES MAGISTRATE JUDGE
      A    P     P    E     A   R     A    N    C    E    S:


      For the Government:                 Bridget M. Rohde, Esq.
                                          Acting U.S. Attorney

                                    BY:   Saritha Komatireddy, Esq.
                                          Matthew Haggans, Esq.
                                          Tiana Demas, Esq.
                                          Assistant U.S. Attorney
                                          271 Cadman Plaza East
                                          Brooklyn, New York 11201


      For the Defendant:                  James M. Branden, Esq.
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 1               THE CLERK:      This is a Criminal Cause for

 2   Arraignment on the Indictment, USA v. Mirsad Kandic, case

 3   number 17-cr-449.

 4               Counsel, please state your name for the record.

 5               MS. KOMATIREDDY:        Good afternoon, your Honor.

 6               Saritha Komatireddy for the United States.                I'm

 7   joined by my colleagues, Tina Demas and Matthew Haggans.

 8               THE COURT:      Good afternoon.

 9               MR. BRANDEN:      Good afternoon, Judge.

10               Jim Branden, and present, this is Mr. Kandic to

11   my left.

12               THE COURT:      Good afternoon.

13               THE DEFENDANT:       Good afternoon.

14               THE COURT:      Mr. Kandic, you're here today

15   because a grand jury has returned an indictment against

16   you charging you with certain crimes.            The purpose of

17   this proceeding is to make sure that you understand the

18   charges pending against you, to make sure you understand

19   your rights as a defendant in a criminal case and that

20   you address the question of whether you should be held in

21   jail or released on bail pending your trial.

22               You have the right to remain silent.             You do

23   not have to make a statement to anyone.             If you start to

24   make a statement, you can stop at any time.              If you've

25   made statements in the past, you are not required to make




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 1   statements in the future.

 2               Any statements that you do make can and will be

 3   used against you in your case except for statements that

 4   you make to your attorney.          Those are privileged.

 5               Do you understand?

 6               THE DEFENDANT:       Yes, I do.

 7               THE COURT:      You also have the right to be

 8   represented by an attorney throughout your case and if

 9   you can't afford an attorney, the Court will appoint one

10   to represent you.

11               I will appoint Mr. Branden to represent you

12   pending a review of your financial affidavit which I

13   believe is coming over from pretrial shortly.               And if I

14   find that it's unacceptable, I will change that

15   appointment.

16               MR. BRANDEN:      I don't think you're going to

17   find that, Judge, but --

18               THE COURT:      Okay.    I'll trust you, Mr. Branden.

19               Mr. Kandic, you've been charged in an

20   indictment issued by a grand jury in this district with

21   the following.

22               Count 1: conspiracy to provide material support

23   to a foreign terrorist organization.

24               Count 2:     provision and attempted provision of

25   material support to a foreign terrorist organization.




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 1               Count 3:     provision and attempted provision of

 2   material support to a foreign terrorist organization.

 3               Count 4 is also provision and attempted

 4   provision of material support to a foreign terrorist

 5   organization, as is Count 5 and Count 6: provision and

 6   attempted provision of material support to a foreign

 7   terrorist organization.

 8               There is also a criminal forfeiture allegation

 9   contained in the indictment.

10               Have you seen a copy of the indictment?

11               THE DEFENDANT:       Yes.

12               THE COURT:      Have you discussed the charges with

13   your attorney?

14               THE DEFENDANT:       Yes, I did.

15               THE COURT:      Do you understand the charges?

16               THE DEFENDANT:       Yes, I do.

17               THE COURT:      Mr. Branden, you've had these

18   discussions with Mr. Kandic?

19               MR. BRANDEN:      That's true.

20               THE COURT:      Are you satisfied that he

21   understands the charges and his rights?

22               MR. BRANDEN:      Yes.

23               THE COURT:      Would you like me read the

24   indictment aloud?

25               MR. BRANDEN:      No, we waive the public reading.




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 1               THE COURT:      How does Mr. Kandic plead to Counts

 2   1 through 6?

 3               MR. BRANDEN:      Not guilty.

 4               THE COURT:      What is the government's position

 5   with respect to bail?

 6               MS. KOMATIREDDY:        Your Honor, the government is

 7   seeking a permanent order of detention.             The defendant

 8   has been charged with six counts of providing material

 9   support to ISIS or conspiring to provide material support

10   to ISIS.

11               He has for three years now been operating from

12   his home base in Turkey as an ISIS logistician, an ISIS

13   facilitator, who provides the assistance and support and

14   logistics necessary for foreign fighters to go into and

15   out of Syria from countries around the world including

16   the United States.

17               In the process of doing so, he has used and

18   possessed fake identifications and used and possessed

19   multiple different aliases.

20               In addition, because of his conduct, the

21   defendant faces two counts that carry with them a

22   potential imprisonment term of life.            The seriousness of

23   those charges, combined with his extensive ties to

24   contacts abroad both within ISIS and outside of that

25   terrorist network warrant a permanent order of detention.




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 1               THE COURT:      Mr. Branden, do you have a bail

 2   package to present?

 3               MR. BRANDEN:      We do not.

 4               THE COURT:      I'll sign a permanent order of

 5   detention with leave to reopen and present a bail package

 6   in the future.

 7               I have received a financial affidavit and I

 8   just want to make sure that it's Mr. Kandic's.               On the

 9   bottom of this page, Mr. Kandic, there is a signature.

10   IS that your signature?

11               THE DEFENDANT:       (No verbal response).

12               THE COURT:      Mr. Kandic nodded affirmatively.

13               The financial affidavit looks in order.              He is

14   entitled to court-appointed counsel.            So Mr. Branden will

15   remain on the case.

16               Mr. Kandic, under the Constitution and laws of

17   the United States, you're entitled to a speedy trial by a

18   jury commencing within 70 days of today's date.               If the

19   government fails to bring you to trial within 70 days,

20   that could be the basis for the motion to dismiss the

21   indictment that's been filed against you.

22               And if you would be successful in making such a

23   motion, the indictment would be dismissed and no charges

24   would go forward against you.

25               I understand from an application that's been




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 1   given to me, that you wish to exclude from today through

 2   November 20th, from the calculation of the 70-day period

 3   in which you must be brought to trial for two reasons.

 4   Number one, you're engaged in plea negotiations with the

 5   government that may lead to a disposition of your case

 6   without the need for a trial and two, your attorney needs

 7   additional time to prepare for the case due to its

 8   complexity.     Is that correct?

 9               THE DEFENDANT:       Yes.

10               THE COURT:      Do you understand your right to be

11   brought to trial within 70 days?

12               THE DEFENDANT:       Yes, I do.

13               THE COURT:      Has anyone threatened, forced or

14   pressured you to agree to this exclusion of time?                Has

15   anyone threatened, forced or pressured you to agree to

16   exclude this time from the 70 days?

17               THE DEFENDANT:       No, not that I remember.

18               THE COURT:      Okay.    You understand that if I

19   exclude this time now, you will not be able to argue

20   later on that it should be included in the 70-day

21   calculation.

22               THE DEFENDANT:       Yeah.    Yes.

23               THE COURT:      Okay.    I will sign the order of

24   excludable delay, finding that it's in the interest of

25   justice, the public and Mr. Kandic, as well.




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 1               I take it you have a status conference with

 2   Judge Garaufis on November 20th?

 3               MS. KOMATIREDDY:        Yes, your Honor.

 4               THE COURT:      What time?

 5               MS. KOMATIREDDY:        2:30 p.m., currently.

 6               THE COURT:      Is there anything else?

 7               MS. KOMATIREDDY:        Nothing else, your Honor.

 8               MR. BRANDEN:      No, Judge, thank you.

 9               THE COURT:      Thank you.

10               MS. KOMATIREDDY:        Thank you.

11                      (Matter concluded)

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                 C    E    R    T    I   F    I    C    A    T    E



                 I, LINDA FERRARA, hereby certify that the

    foregoing transcript of the said proceedings is a true

    and accurate transcript from the electronic sound-

    recording of the proceedings reduced to typewriting in

    the above-entitled matter.



                 I FURTHER CERTIFY that I am not a relative or

    employee or attorney or counsel of any of the parties,

    nor a relative or employee of such attorney or counsel,

    or financially interested directly or indirectly in this

    action.



                 IN WITNESS WHEREOF, I hereunto set my hand this

    27th day of December, 2017.




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